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                                                                     ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                         DOC #:
SOUTHERN DISTRICT OF NEW YORK
                                                                     DATE FILED: 10/4/2023
 GARY BEAUMONT,

                         Plaintiff,
                                                               22-cv-6235 (MKV)
                     -against-
                                                                     ORDER
 VANGUARD LOGISTICS SERVICES (USA),
 INC. et al.,

                         Defendants.

MARY KAY VYSKOCIL, United States District Judge:

      In light of the pending motion for reconsideration [ECF No. 51], the Status Conference

scheduled for October 26, 2023 at 10:00 AM is ADJOURNED to December 6, 2023 at 11:00

AM.


SO ORDERED.
                                                  _________________________________
Date: October 4, 2023                             MARY KAY VYSKOCIL
      New York, NY                                United States District Judge
